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United States District Court
District of Massachusetts

 

DAVID TRACEY, et al.,
Plaintiffs,

Civil Action No.
16-11620-NMG

Vv.

MASSACHUSETTS INSTITUTE OF
TECHNOLOGY, et al.,

Defendants.

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MEMORANDUM & ORDER
GORTON, J.

This class action involves an alleged breach of fiduciary
duty by Massachusetts Institute of Technology and related
parties (“MIT” or “defendants”) with respect to the supervision
of MIT’s employee-sponsored defined contribution plan under the
Employee Retirement Income Security Act (“ERISA”), 29 U.S.C.

§ 1109. Plaintiffs are four current or former employees of MIT
who participated in the subject retirement plan from August,
2010, to the date of judgment. The underlying claims, brought
by the four named plaintiffs individually and on behalf of a
class of similarly situated individuals, are for alleged
excessive recordkeeping fees and imprudent investment lineups.
The facts of this case are discussed in depth in this Court’s
Memorandum and Order allowing plaintiffs’ motion to certify the

class (Docket No. 157).
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In October, 2017, this Court entered a Memorandum and Order
accepting the Magistrate Judge’s Report and Recommendation to
dismiss plaintiffs’ claim for breach of the duty of loyalty,
among other things. In May, 2019, more than a year after the
deadline for filing amendments or supplements to the pleadings
and less than two months before the deadline for filing of
motions for summary judgment, plaintiffs filed a motion for
leave to file a third amended complaint seeking to reassert the
previously dismissed duty of loyalty claim. They contend that
good cause exists for this late amendment because the
information necessary to assert such a claim was in the sole
possession of the defendants and was not made available until
fact discovery was completed in March, 2019. Defendants respond
that most (if not all) of the documents and depositions
plaintiffs rely on in support of their theory for the duty of
loyalty claim were available to them by the end of November,
2018, but plaintiffs nevertheless waited four more months before
seeking leave to file a third amended complaint.1

The “good cause” standard of Fed. R. Civ. P. 16(b) applies
to motions to amend that are filed after scheduling order

deadlines. O’Connell v. Hyatt Hotels of P.R., 357 F.3d 152, 154-

 

 

 

1 Although the motion for leave to file a third amended complaint was formally
filed in late May, 2019, the parties have agreed to treat the motion as
having been filed in March, 2019, because of a stay of pretrial deadlines
issued by the Court that same month.

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55 (lst Cir. 2004). The standard under Rule 16(b) has been
described as more stringent than the more liberal “freely given”
standard of Fed. R. Civ. P. 15(a). See id. at 154; see also

Steir v. Girl Scouts of the USA, 383 F.3d 7, 12 (1st Cir. 2004).

 

 

The Rule 16(b) standard focuses on the diligence of the party
seeking the amendment. O’Connell, 357 F.3d at 155 (“Prejudice to
the opposing party remains relevant but is not the dominant
criterion.”); see also Steir, 383 F.3d at 12 (“[T]he longer a
plaintiff delays, the more likely the motion to amend will be
denied, as protracted delay, with its attendant burdens on the
opponent and the court, is itself a sufficient reason for the
court to withhold permission to amend.” (citing Acosta~Mestre v.

Hilton Int’l of P.R., Inc., 156 F.3d 49, 52-53 (lst Cir.

 

1998))).

Plaintiffs were apparently in possession of most of the
documents and deposition testimony needed for their duty of
loyalty claim before the end of November, 2018. Nevertheless,
plaintiffs waited several more months before filing their motion
to amend. Although plaintiffs did not take the deposition of
Michael Howard until March, 2019, they were aware of enough
colorable evidence to assert their purported claim for breach of
the duty of loyalty before that time. Plaintiffs have not,

therefore, demonstrated good cause for their failure to seek
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diligently an amendment to their complaint once they were in
possession of the relevant evidence.

Moreover, plaintiffs’ attempt to assert a new legal theory
at this late juncture (approximately 45 days before the filing
of motions for summary judgment) is unduly prejudicial to
defendants who would be required to rebut an additional legal
theory without the opportunity to develop additional facts in
their defense. Even if the duty of loyalty claim depends solely
on facts already discovered, such that no additional discovery
is required, it is fundamentally unfair to require defendants to
adjust their defense strategy hard upon the deadline for filing
of dispositive motions (and now just before trial). See Steir,
305 F.3d et. 12-13.

Accordingly, plaintiffs’ motion for leave to file a third
amended complaint will be denied.

ORDER
For the foregoing reasons, plaintiffs’ motion for leave to

file a third amended complaint (Docket No. 193) is DENIED.

So ordered.

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Nathaniel M. Gorton
United States District Judge

Dated August & , 2019
